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           EXHIBIT A
                                                                               Case
                                                                                Case3:18-cv-04865-EMC
                                                                                     3:16-cv-02627-WHA Document
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                                                                          6                            IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
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                                                                         10   STEEVE EVELLARD, Individually and on                         No. C 16-02627 WHA
                                                                         11   Behalf of All Others Similarly Situated,
United States District Court




                                                                                             Plaintiffs,
                               For the Northern District of California




                                                                         12                                                                ORDER (1) SCHEDULING
                                                                         13     v.                                                         HEARING ON MOTIONS TO
                                                                                                                                           APPOINT LEAD PLAINTIFF, (2)
                                                                         14   LENDINGCLUB CORPORATION,                                     REQUESTING INFORMATION
                                                                              RENAUD LAPLANCHE, and CARRIE L.                              FROM LEAD PLAINTIFF
                                                                         15   DOLAN,                                                       CANDIDATES, (3) SETTING
                                                                                                                                           BRIEFING SCHEDULE
                                                                         16                  Defendants.
                                                                                                                           /
                                                                         17
                                                                         18          All motions to appoint lead plaintiff shall be heard on AUGUST 15, 2016, AT 10:00 A.M.

                                                                         19   in Courtroom 8, 19th Floor, 450 Golden Gate Avenue, San Francisco, California. As opposed

                                                                         20   to “group” candidates, the Court wishes to evaluate the qualifications of single investors, either

                                                                         21   institutional investors or individuals, to serve as lead plaintiff. See In re Network Assocs., Inc.,

                                                                         22   Sec. Litig., 76 F. Supp. 2d 1017, 1019–27 (N.D. Cal. 1999). The Court is particularly interested

                                                                         23   in considering single investors with large losses and in evaluating their experience in managing

                                                                         24   litigation. Any “group” of movants must narrow its candidates to one or two single investors

                                                                         25   and file answers to the appended questionnaire by AUGUST 1, 2016, including the certification

                                                                         26   called for therein. Each candidate must attend the hearing on AUGUST 15, 2016, and be

                                                                         27   prepared to answer questions.

                                                                         28          All motions to appoint lead plaintiff must be timely filed under 15 U.S.C. 78u-4(a)(3)
                                                                              and must be supplemented by the appended questionnaire and certification. All opposition
                                                                               Case
                                                                                Case3:18-cv-04865-EMC
                                                                                     3:16-cv-02627-WHA Document
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                                                                          1   briefs shall be filed and served by JULY 29, 2016. Any reply briefs shall be filed and served by
                                                                          2   AUGUST 5, 2016, and shall not exceed ten pages. Each party shall submit only one opposition
                                                                          3   brief, responding to all other pending motions, and only one reply brief. All questionnaires and
                                                                          4   other submissions shall be served on all counsel named on the Court’s certificate of service.
                                                                          5          Applications for class counsel shall be deferred until after the lead plaintiff has been
                                                                          6   appointed.
                                                                          7
                                                                          8          IT IS SO ORDERED.
                                                                          9
                                                                         10   Dated: June 14, 2016.
                                                                                                                                       WILLIAM ALSUP
                                                                         11                                                            UNITED STATES DISTRICT JUDGE
United States District Court
                               For the Northern District of California




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